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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                   FORT SMITH DIVISION


 UNITED STATES OF AMERICA                      )
                                               )
  v.                                           )       CRIMINAL NO. 2:20 CR 20017-017
                                               )
 EMILY ELIZABET[! WILLIAMS                     )



                                       PLEA AGREEMENT

         Pursuant to Rule 11 (c)( I) of the Federal Rules of Criminal Procedure, the parties hereto

 acknowledge that they have entered into negotiations which have resulted in this Agreement. The

 agreement of the parties is as follows:

                        COUNTS OF CONVICTION AND DISMISSAL

         I.     The Delcndant, Emily Elizabeth Williams, hereby agrees to plead guilty to count

 one (I) of the First Superseding Indictment charging the Defendant with knowingly and

 intentionally conspiring to distribute a mixture or substance containing rnethamphetamine, in

 violation of 2 l U.S.C. § 841(a)(l) and 846, which is the only count pertaining to the

 defendant. If the Court accepts this Plea Agreement, once the Court has pronounced sentence, the

 United States will move to dismiss the Forfeiture Allegation of the Indictment as it pertains to the

 defendant.

              CONSENT TO PROCEED BEFORE THE MAGISTRATE JUDGE

        2.      The Defendant acknowledges that she has been advised and understands that she

 has a right to have a United States District Judge presiding when she enters a guilty plea and that

 she can exercise that right without concern or reservation. The Defendant and the United States

hereby consent to have the proceedings required by Rule 11 of the Federal Rules of Criminal
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 Procedure incident to the making of the plea to be conducted by the United States Magistrate

 Judge. If, after conducting such proceedings, the Magistrate Judge recommends that the plea(s) of

 guilty be accepted, a prescntcncc investigation and report will be ordered pursuant to Federal Rule

 of Criminal Procedure 32. The Defendant acknowledges that her plea of guilty is subject to

 approval and acceptance by the District Judge and that sentencing will be conducted by the District

 Judge.

                       WAIVER OF OBJECTIONS TO MAGISTRATE'S
                           REPORT AND RECOMMENDATION

          3.     The patiics acknowledge that pursuant to 28 U.S.C. § 636(h)(l)(B), the failure to

 file objections to the Rep01i and Recommendation within fourteen (14) days bars them from

 objecting to the District Court's acceptance of the guilty plea as recommended by the Magistrate

 Judge. Having been advised of the right to object to the Report and Recommendation, the parties

 wish to waive that right for the purpose of expediting acceptance of the guilty pleas(s) in this

 matter. Accordingly, evidenced by their signatures appearing below, the parties hereby waive the

 right to object to the Magistrate Judge's Report and Recommendation Concerning Pica of Guilty,

 and consent to acceptance of the same by the United States District Judge so that acceptance of

 the guilty plca(s) may proceed forthwith.

           ADMISSION OF FACTUAL BASIS IN SUPPORT OF GUILTY PLEA(S)

          4.    The Defendant has folly discussed with defense counsel the facts of this case and

 the clements of the crime(s) to which the Defendant is pleading guilty. The Defendant has

 committed each of the elements of the crime(s) to which the Defendant is pleading guilty, and

 admits that there is a factual basis for this guilty plea. The following facts are true and undisputed:

                a.      On February l 9, 2020, the Hon. P.K. Holmes, Ill authorized the
                        interception of wire and electronic interceptions from cellular telephone
                        number 404-748-0077, which was utilized by Alberto Ledesma (hereatler



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                   "Ledesma telephone"). From Fcbmary 20, 2020 through March 19,
                   2020, the DEA and FBI intercepted all text messages and telephone calls
                   to and from the Ledesma telephone. The interceptions revealed that
                   Alberto Ledesma was a supplier of methamphetaminc to several co­
                   conspirator customers, including Paula Lynne Rider, who in turn
                   employed the defendant, Emily Elizabeth Williams, as a courier to shuttle
                   mcthamphetamine between Rider and Ledesma.

               b. On March 4, 2020 at approximately 4:33 pm, a telephone call was
                  intercepted between Alberto Ledesma and Paula Rider. In this call, Rider
                  infonned Ledesma that she had "people wanting four for $1,000." By this
                  agreement, the defendant acknowledges that "four for $1,000" is a
                  reference to four (4) ounces ofmethamphetamine in exchange for $1,000,
                  and the "people" referenced by Rider are mcthamphetamine customers
                  which will purchase the methamphetamine from Rider after it is sourced
                  from Ledesma.

               c. In the same telephone call, Alberto Ledesma agreed to selling Rider "four
                  for $1,000," so long as the transaction was conducted in cash and not on
                  credit. Rider agreed and stated that she would visit Ledesma when the
                  "people" arrived.

               d. At approximately 5:48 pm, a text message from Rider to Ledesma was
                  intercepted which stated "sending Emily." At approximately 6:04 pm,
                  investigators observed as a pickup tmck arrived at Ledcsma's home on
                  MacArthur Drive in Fort Smith, Arkansas. The driver of the pickup tmck
                  exited the vehicle and entered the home, where they remained for
                  approximately six (6) minutes. When the driver exited the home, they
                  placed an item in the bed of the pickup truck, entered the driver's seat, and
                  left the area.

               e. Investigators followed the vehicle until it committed a tratlic violation, at
                  which time it was pulled over by a marked Fort Smith Police Department
                  patrol car. The driver and individual who had previously entered
                  Ledesma's home was identified as Emily Williams. The traffic stop
                  resulted in a search of the vehicle, and the item Williams placed in the bed
                  of the vehicle was found to be approximately four (4) ounces of a
                  substance which filed tested positive for the presence of
                  methamphetamine.

               f   Williams was arrested and agreed to make a statement after being advised
                   of her Miranda warnings. In her statement, Williams admitted that she
                   had obtained the mcthamphetamine from a Hispanic individual she only
                   knew as "Paco," and that she had provided "Paco" with $1, l 00 in cash at
                   the time she picked up the methamphetamine.




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                     g. Based upon the totality of the evidence in this case, which includes
                        surveillance, intercepted telephone calls and text messages, the statement
                        of the Williams, and the statements of co-conspirators, the defendant
                        agrees that the United States could prove beyond a reasonable doubt that
                        she conspired and/or agreed with Alberto Ledesma and Paula Rider to
                        distribute a mixture or substance containing what she knew to be
                        mcthamphetaminc.

                                       ADVICE OF RIGHTS

        5.      The Defendant hereby acknowledges that she has been advised of and fully

 understands the following constih1tional and statutory rights:

                a.      to have an attorney and if the Defendant cannot afford an attorney, to have
                        one provided to her and paid for at the United States' expense;
                b.      to persist in her plea of not guilty;
                c.      to have a speedy and public trial by jury;
                d.      to be presumed innocent until proven guilty beyond a reasonable doubt;
                c.      to confront and examine witnesses who testify against her;
                f.      to call witnesses on her behalf;
                g.      to choose to testify or not testify and that no one could force the Defendant
                        to testify; and,
                h.      to have at least 30 days to prepare for trial.

                                      W AIYER OF RIGHTS

        6.      The Defendant hereby acknowledges that she understands with respect to each

 count to which she pleads guilty, she thereby WAIVES all of the rights listed as (b) through (h) of

 the above paragraph.

                             WAIYER OF ACCESS TO RECORDS

        7.      The Defendant hereby waives all rights, whether asserted directly or by a

 representative, to request or receive from any department or agency of the United States any

 records pertaining to the investigation or prosecution of this case, including without limitation any

 records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy

 Act of 1974, 5 U.S.C. § 552a.




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                                  WAIVER OF "HYDE" CLAIM

         8.      The Defendant hereby waives any claim under the Hyde Amendment, 18 U.S.C. §

 3006A (Statutory Note), for attorney fees and other litigation expenses arising out of the

 investigation or prosecution of this matter.

               EFFECTS OF BREACH OF THIS AGREEMENT BY DEFENDANT

        9.       The Defendant agrees that if after signing this Pica Agreement the Defendant

 commits any crimes, violates any conditions of release, or fails to appear for sentencing, or if the

 Defendant provides information to the Probation Office or the Court that is intentionally

 misleading, intentionally incomplete, or intentionally untruthful, or if the Defendant violates any

 term of this Plea Agreement, takes a position at sentencing which is contrary to the terms of this

 Pica Agreement or attempts to withdraw from this Plea Agreement, this shall constitute a breach

 of this Plea Agreement which shall release the United States from any and all restrictions or

 obligations placed upon it under the terms of this agreement and the United States shall be free to

 reinstate dismissed charges or pursue additional charges against the Defendant. The Defendant

 shall, however, remain bound by the terms of the agreement, and will not be allowed to withdraw

 this plea of guilty unless permitted to do so by the Court.

        l 0.     The Defendant further agrees that a breach of any provisions of this Pica Agreement

 shall operate as a WAIVER of Defendant's rights under Ruic 11 (f) of the Federal Rules of Criminal

 Procedure and Ruic 410 of the Federal Rules of Evidence and the United States shall be allowed

 lo use and to introduce into evidence any one or more of the following:

                 a.     admissions against interest, both oral and written, made by the Defendant
                        to any person;
                 b.     statements made by the Defendant during her change of plea hearing;
                 c.     the factual basis set forth in the Plea Agreement;
                 d.     any testimony given under oath in these proceedings or to a grand jury or a
                        petit jury;



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                   e.     any and all physical evidence of any kind which the Defendant has provided
                          to the United States; and,
                   f.     any and all information provided by the Defendant to the United States'
                          attorneys, or to federal, state, county, and/or local law enforcement officers.

                                       MAXIMUM PENAL TIES

         11.       The Defendant hereby acknowledges that she has been advised of the maximum

 penalties for each count to which she is pleading guilty. By entering a plea of guilty to count one

 of the Indictment, the Defendant agrees that she faces:

                   a.     a maximum term of imprisonment for 20 years;
                   b.     a maximum fine of$1,000,000;
                   c.     both imprisonment and fine;
                   d.     a term of supervised release of not less than 3 years, nor more than life,
                          which begins after release from prison;
                   e.     a possibility of going back to prison if the Defendant violates the conditions
                          of supervised release;
                   f.     a special assessment of$100.00.

                            CONDITIONS OF SUPERVISED RELEASE

        12.       The Defendant acknowledges that ifa term of supervised release is imposed as part

 of the sentence, the Defendant will be subject to the standard conditions of supervised release as

 recommended by the United States Sentencing Commission and may be subject to other special

 conditions of supervised release as determined by the Court.            The standard conditions of

 supervised release arc as follows:

               a. The Defendant shall report to the probation ol1icc in the federal judicial district
                  where he or she is authorized to reside within 72 hours of release from
                  imprisonment, unless the probation officer instructs the Defendant to report to a
                  different probation office or within a different time frame.
               b. After initially reporting: to the prohation office, the Defendant will receive
                  instructions from the court or the probation officer about how and when to rcrort to
                  the rrobation ofliccr, and the Defendant shall report to the probation officer as
                  instructed.
               c. The Defendant shall not knowingly leave the federal judicial district where he or
                  she is authorized to reside without first getting permission from the court orthe
                  probation officer.
               d. The Defendant shall answer truthfully the questions asked by the probation ofllcer.



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             c. The Defendant shall live at a place approved by the probation officer. If the
                 Defendant plans to change where he or she lives or anything about his or ocrliving
                 arrangements (such as the people the Defendant lives with), the Defendant shall
                 notify the probation officer at least IO days before the change. If notifying the
                 probation oflicer at least JO days in advance is not possible due to unanticipated
                 circumstances, the Defendant shall notify the probation officer within 72 hours of
                 becoming aware of a change or expected change.
             f. The Defendant shall allow the probation officer to visit the Defendant at any time
                 at his or her home or elsewhere, and the Defendant shall permit the probation officer
                 to take any items prohibited by the conditions of the Defendant's supervision that
                 he or she observes in plain view.
             g. The Defendant shall work full time (at least 30 hours per week) at a lawful type of
                 employment, unless the probation officer excuses the defendant from doing so. If
                 the Defendant does not have full-time employment he or she shall try to find full­
                 time employment, unless the probation officer excuses the defendant from doing
                 so. If the Defendant plans to change where the Defendm1t works or anything about
                his or her work (such as the position or the job responsibilities), the Defendant shall
                notify the probation officer at least l O days beftire the change. Ifnotifying the
                 probation officer at least 10 days in advance is not possible due to unanticipated
                circumstances, the Defendant shall notify the probation omccr within 72 hours of
                becoming aware of a change or expected change.
            h. The Defendant shall not communicate or interact with someone the Defendant
                knows is engaged in criminal activity. If the Defendant knows someone has been
                convicted of a felony, the Defendant shall not knowingly communicate or interact
                with that person without first getting the permission oft he probation oflicer.
            1. lf the Defendant is arrested or questioned by a law enforcement officer, the
                Defendant shall notity the probation officer within 72 hours.
            J- The Defendant shall not own, possess, or have access to a firearm, ammunition,
                destructive device, or dangerous weapon _(i.e., anything that was designed, or was
                modified for, the specific purpose of causing bodily injury or death to another
                person, such as nunchakus or Tasers).
            k. The Defendant shall not act or make any agreement with a law enforcement agency
                to act as a confidential human source or informant without first getting the
                permission of the court.
            l. If the probation officer detennines that the Defendant poses a risk to another person
                (including an organization), the probation officer may require the Defendant to
                notify the person about the risk and the Defendant shall comply with that
                instruction. The probation oitkcr may contact the person and confinn that the
                Defendant has notified the person about the risk.
            m. The Defendant shall follow the instructions of the probation officer related to the
                conditions of supervision.

                              PAYMENT OF MONETARY PENALTIES

      13.      The Defendant agrees that monetary penalties to include special assessments, fine,




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 and/or restitution imposed by the Court will be (i) subject to immediate enforcement as provided

 in 18 U.S.C. § 3613c, and (ii), submitted to the Treasury Offset Program so that any federal

 payment such as an income tax refund or transfer ofreturncd property the defendant receives may

 be offset and applied to federal debt without affecting the periodic payment schedule ordered by

 the Court.


                                     NO OTHER CHARGES

          14.    The United States agrees that no other federal charges, which stem from the

 activities described in the Indictment, will be brought against the Defendant in the Western District

 of Arkansas.



          SENTENCING GUIDELINES ARE ADVISORY BUT NOT MANDATORY

          15.    The parties acknowledge that the Court shall consult and take into account the

 United States Sentencing Commission Guidelines in determining the sentence, but that the Court

 is not bound by the Guidelines and may sentence the Defendant to any sentence within the statutory

 range.

                AGREEMENT DOES NOT PROMISE A SPECIFIC SENTENCE

          16.    The Defendant acknowledges that discussions have taken place concerning the

 possible guideline range which might be applicable to this case. The Defendant agrees that any

 discussions merely attempt to guess at what appears to be the correct guideline range and do not

 bind the District Com1. Further, the Defendant acknowledges that the actual range may be greater

 than contemplated by the parties. In the event that the actual guideline range is greater than the

parties expected, the Defendant agrees that this docs not give her the right to withdraw her plea of

guilty.



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                            RELEVANT CONDUCT CONSIDERED

         17.    At the sentencing hearing, the United States will be permitted to bring to the Court's

 attention, and the Court will be pennitted to consider, all relevant information with respect to the

 Defendant's background, character and conduct, including the conduct that is the subject of this

 investigation for which she has not been charged up to the date of this Agreement, and/or which

 is the basis for any of the counts which will be dismissed pursuant to this agreement, as provided

 by § l B 1.3 of the Sentencing Guidelines.

                                              PERJURY

         18.    In the event that it is determined that the Defendant has not been truthful with the

 Court as to any statements made while under oath, this Plea Agreement shall not be construed to

 protect the Defendant from prosecution for perjury or false statement.

                          CONCESSIONS BY THE UNITED STATES

        19.     The United States agrees not to object to a recommendation by the Probation Office

 or a ruling of the Court which awards the Defendant an appropriate-level decrease in the base

 offense level for acceptance of responsibility. If the offense level in the Presentcncc Report is 16

 or greater and the Court accepts a recommendation in the Prcsentcncc Report that the Defendant

 receive two points for acceptance of responsibility, the United States agrees to move for an

 additional one-point reduction for acceptance ofresponsibility for a total of three points. However,

 the United States will not be obligated to move for an additional one-point reduction or recommend

 any adjustment for acceptance of responsibility if the Defendant engages in conduct inconsistent

 with acceptance of responsibility including, but not limited to, the following a) falsely denies, or

 makes a statement materially inconsistent with, the factual basis set forth in this agreement, b)

 falsely denies additional relevant conduct in the offense, c) is untruthful with the United States,




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  the Court or probation officer, or d) materially breaches this Plea Agreement in any way.

                         UNITED STATES' RESERVATION OF RIGHTS

          20.     Although the United States agrees not to object to certain findings by the Probation

  Office or to rulings of the Court, it reserves the right to:

                  a.     make all facts known to the Probation Office and to the Court;
                  b.     call witnesses and introduce evidence in support of the Presentence Report;
                  c.     contest and appeal any finding of fact or application of the Sentencing
                         Guidelines;
                 d.      contest and appeal any departure from the appropriate Guideline range; and,
                 c.      defend all rulings of the District Court on appeal including those rulings
                         which may be contrary to recommendations made or positions taken by the
                         United States in this Plea Agreement which arc favorable to the Defendant.




                       NO RIGHT TO WITHDRAW THE GUILTY PLEA

         2 l.    The United States' concessions on sentencing options arc non-binding and made

 pursuant to Rule l l(c)(l)(B) of the Federal Rules of Criminal Procedure. As a result, if the Court

 should reject the Defendant's requests or recommendations fi.)r certain findings of fact or

 applications of the Guidelines, the Defendant acknowledges that there is no right to withdraw the

 guilty plea.

                        AGREEMENT NOT BINDING ON THE COURT

         22.     The parties agree that nothing in this Agreement binds the District Court to:

                 a.      make any specific finding of fact;
                 b.      make any particular application of the Sentencing Guidelines;
                 c.      hand down any specific sentence;
                 d.      accept any stipulation of the parties as contained in this Plea Agreement;
                         and,
                 e.      accept this Plea Agreement.

         23.     The United States and the Defendant acknowledge that the Court has an obligation

 to review the Prcsentence Report before it accepts or rejects this Pica Agreement.



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                     AGREEMENT DOES NOT BIND ANY OTHER ENTITY

         24.     The pmties agree that this Plea Agreement docs not bind any governmental entity

  other than the United States Attorney's Office for the Western District of Arkansas.

                                     SPECIAL ASSESSMENT

         25.    The Defendant agrees to pay $100.00 as the special assessment in this case.

                            REPRESENTATIONS BY DEFENDANT

         26.    By signing this Pica Agreement, the Defendant acknowledges that:

                a.      The Defendant has read this Agreement (or has had this Agreement read to
                        her) and has carefully reviewed every part of it with defense counsel.
                b.      The Defendant fully understands this Plea Agreement and is not under the
                        influence of anything that could impede the Defendant's ability to fully
                        understand this Plea Agreement.
                c.      No promises, agreements, understandings, or conditions have been made or
                        entered into in connection with the decision to plead guilty except those set
                        forth in this Plea Agreement.
                d.      The Defendant is satisfied with the legal services provided by defense
                        counsel in connection with this Plea Agreement and matters related to it.
                c.      The Defendant has entered into this Pica Agreement freely, voluntarily, and
                        without reservation and the Defendant's desire to enter a plea of guilty is not
                        the result of threats or coercion directed at the Defendant or anyone
                        connected with the Defendant.

                       REPRESENTATIONS BY DEFENSE COUNSEL

        27.     By signing this Plea Agreement, counsel for the Defendant acknowledges that:

                a.     Counsel has carefully reviewed every part of this Agreement with the
                       Defendant and this Agreement accurately and completely sets forth the
                       entire agreement between the United States and the Defendant.
                b.     Counsel bas explained the ramifications of the Plea Agreement to the
                       Defendant, and believes that the Defendant understands this Plea
                       Agreement, what rights are being lost by pleading guilty, and what the
                       United States bas agreed to do in exchange for the pica of guilty.
                c.     Counsel believes that the Defendant's decision to enter into this Agreement
                       is an informed and voluntary one.




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                            PLEA AGREEMENT CONSTITUTES THE ENTIRE AGREEMENT

                    28.           The Defendant and her attorney both acknowledge that this Plea Agreement

    constitutes the entire agreement of the parties. Further, all parties agree that there arc no oral

    agreements or promises which have been made to induce the Defendant lo change her pica to

   guilty.
                                   October
           Dated this 29th day of _____, 2020.
     C:                                     DA YID CLAY FOWLKES
    -�i �lU�� _s_______
            lJ            Y",
   -Emily Eldabcth \Villiams
                                            FIRST ASSISTANT UNITED STATES
                                            ATTORNEY
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   Attorney for Defendant                                                               Brandon Carter
                                                                                          Assistant U.S. Attorney
